                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:13-00209
                                                   )       JUDGE CAMPBELL
JUAN COLLAZO                                       )

                                           ORDER

       Pending before the Court is Defendant Juan Collazo’s Motion for Release Pending Appeal

(Docket No. 193). The Government is directed to file a response to the Motion by August 7, 2015.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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